     Case: 4:22-cv-00099-JMB Doc. #: 1 Filed: 01/26/22 Page: 1 of 5 PageID #: 1




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

KEITH ROSE,                                    )
                                               )
                       Plaintiff,              )       No. 22-cv-99
                                               )
v.                                             )       JURY TRIAL DEMANDED
                                               )
ROBERT SCHULTE,                                )
                                               )
                       Defendant.              )


                                           COMPLAINT

        1.     In this civil rights action, brought pursuant to 42 U.S.C. § 1983 and the Fourth

Amendment to the Constitution of the United States, Plaintiff Keith Rose seeks judgment against

police officer Robert Schulte for conducting an unlawful vehicle stop, an unlawful seizure of his

person, and an unlawful search of his vehicle.

                                             PARTIES

        2.     Plaintiff Keith Rose is a citizen of Illinois.

        3.     Defendant Robert Schulte is a police officer employed by St. Louis County. At all

times relevant to this complaint, Schulte was acting under color of law. He is sued in his

individual capacity.

                                    JURISDICTION AND VENUE

        4.     Plaintiff brings his claim pursuant to 42 U.S.C. § 1983 and the Fourth

Amendment to the United States Constitution.

        5.     The jurisdiction of this Court is proper pursuant to 28 U.S.C. § 1331, because

Plaintiff’s action arises under the Constitution of the United States, and § 1343(a)(3) to redress

the deprivation of a right secured by the Constitution of the United States.
    Case: 4:22-cv-00099-JMB Doc. #: 1 Filed: 01/26/22 Page: 2 of 5 PageID #: 2




        6.      Venue is proper in the United States District Court for the Eastern District of

Missouri pursuant to 28 U.S.C. § 1391(b)(2) because a substantial part of the events giving rise

to the claim occurred in St. Louis County, Missouri.

        7.      Divisional venue is proper in the Eastern Division because the events leading to the

claim for relief arose in St. Louis County. E.D. Mo. L.R. 2.07(A)(1), (B)(1).

                                               FACTS

        8.      On the evening of November 18, 2018, Rose drove to Jennings, Missouri, to attend

a protest.

        9.      He reached the protest site, confirmed that his companions were there, and then

drove down the block to find a parking spot.

        10.     As Rose drove away from the site and into a subdivision to look for a place to park,

Schulte began following Rose.

        11.     Schulte was alone and driving a marked St. Louis County Police (“Jennings

division”) vehicle.

        12.     Schulte followed Rose for several blocks.

        13.     Knowing that a police officer was following him, Rose was conscientious about

obeying all traffic rules.

        14.     Rose did not violate any laws.

        15.     After following Rose through the subdivision, Schulte activated his lights and

pulled over Rose’s vehicle.

        16.     Schulte pulled over Rose’s vehicle near the intersection of Leamont Drive and

Dorwood Drive.

        17.     The traffic stop occurred around 6:30 p.m.
    Case: 4:22-cv-00099-JMB Doc. #: 1 Filed: 01/26/22 Page: 3 of 5 PageID #: 3




        18.    Schulte approached Rose’s vehicle.

        19.    Schulte asked Rose, who was alone, questions about why he was in the area and

remarked on Rose’s outfit.

        20.    Schulte then took Rose’s driver license back to his police vehicle.

        21.    Schulte returned to Rose’s vehicle and told him to step out of the vehicle.

        22.    Schulte told Rose that his car was going to be searched because “the computer” had

told him that Rose had “violent tendencies.”

        23.    Schulte then asked Rose if he had participated in protests in Ferguson in 2014.

        24.    After Rose exited his vehicle at Schulte’s direction, Schulte told Rose that he was

being detained.

        25.    Schulte then handcuffed Rose and ordered him to sit on the front bumper of

Schulte’s police vehicle.

        26.    Rose complied.

        27.    Schulte then searched Rose’s vehicle.

        28.    At no time did Schulte present Rose with a warrant authorizing a search of Rose’s

vehicle.

        29.    At no time did Rose consent to a search of his vehicle. To the contrary, Rose

affirmatively voiced his non-consent to any search.

        30.    After the search, Schulte told Rose that he found nothing of significance.

        31.    A second police vehicle marked St. Louis County “J 172” arrived.

        32.    Rose was then released from the handcuffs and allowed to reenter his vehicle.

        33.    Schulte gave Rose a citation that falsely claimed Rose had not stopped at a stop

sign.
    Case: 4:22-cv-00099-JMB Doc. #: 1 Filed: 01/26/22 Page: 4 of 5 PageID #: 4




       34.     On January 8, 2019, the citation was dismissed.

                             COUNT I: FOURTH AMENDMENT

       35.     Rose incorporates by reference the allegations in the foregoing paragraphs of this

complaint as fully set forth herein.

       36.     Schulte conducted an unreasonable, warrantless seizure of Rose’s vehicle in

violation of the Fourth Amendment by pulling Rose over in the absence of reasonable suspicion.

       37.     Schulte had no lawful basis for pulling over Rose in his vehicle.

       38.     Schulte conducted an unreasonable seizure of Rose in violation of the Fourth

Amendment by ordering him out of his vehicle, handcuffing him, and commanding him to sit on

the bumper of the police vehicle.

       39.     Schulte had no lawful basis for this unreasonable seizure of Rose’s person.

       40.     Schulte conducted an unreasonable, warrantless search of Rose’s vehicle in

violation of the Fourth Amendment.

       41.     Schulte had no lawful basis for conducting the search.

       42.     It was clearly established by November 18, 2018, that pulling over a vehicle under

the circumstances of this case violates the Fourth Amendment.

       43.     It was clearly established by November 18, 2018, that seizing a person under the

circumstances of this case violates the Fourth Amendment.

       44.     It was clearly established by November 18, 2018, that searching a vehicle under the

circumstances of this case violates the Fourth Amendment.

       45.     Rose suffered damages as a result of Schulte’s acts.

       WHEREFORE, Plaintiff prays this Court:

               A. Enter judgment in favor of Plaintiff and against Defendant;
Case: 4:22-cv-00099-JMB Doc. #: 1 Filed: 01/26/22 Page: 5 of 5 PageID #: 5




         B. Award Plaintiff nominal, compensatory, and punitive damages against

            Defendant;

         C. Award Plaintiff reasonable attorneys’ fees and costs pursuant to 42 U.S.C.

            § 1988 and any other applicable provisions of law; and

         D. Allow such other and further relief as the Court deems just and proper.


                                              Respectfully submitted,

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